                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )          No. 3:11-00194
                                              )          JUDGE CAMPBELL
MAURICE ROGER THOMPSON                        )


                                          ORDER

       Pending before the Court is a Petition For Immediate Dismissal Of The Instant Charges

And Indictment With Prejudice, And Immediate Release (Docket No. 973), filed by Defendant

Maurice Roger Thompson, pro se. The Motion is DENIED, as Defendant Thompson is

represented by counsel.

       It is so ORDERED.



                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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